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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

       v.                                              CRIMINAL No. 1:19-cr-10195-WGY

 HAOYANG YU,

        Defendant


                        DECLARATION OF WILLIAM WEINREB


I, William Weinreb, pursuant to 28 U.S.C. § 1746, state the following:

       1.     I am an attorney-at-law, duly admitted and in good standing as a member of the

       Massachusetts bar, and a partner with the law firm Quinn Emanuel Urquhart & Sullivan,

       LLP (“Quinn Emanuel”). I have personal knowledge of the matters below.

       2.     Quinn Emanuel serves as legal counsel to Analog Devices, Inc. (“ADI”). As

       referenced in the Government’s Sentencing Memorandum in the above-noted matter

       (Docket No. 369), ADI is the victim in this case. I provide this Declaration in support of

       the request submitted by the Government for restitution to ADI under the Mandatory

       Victims Restitution Act, 18 U.S.C. § 3663A.

       3.     ADI has provided to the Government legal invoices totaling $609,915 that reflect

       expenses incurred by ADI during participation in the government’s investigation and

       prosecution of the offense and attendance at proceedings related to the offense of which

       Mr. Yu was convicted.      The invoices are attached to this Declaration Exhibit 1. They

       have been paid by ADI, with the exception of the June 2023 invoice, which was only

       recently billed, but will be paid by ADI.



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       7.     The legal invoices paid by ADI understate the losses ADI incurred in connection

       with the DOJ Investigation and the crime. For one thing, they do not account for lost sales

       resulting from Mr. Yu’s crime. For another thing, they do not account for the significant

       time and resources that ADI personnel expended assisting the government’s investigation.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.




                                                     ________________________________
                                                     William Weinreb
                                                     Dated: August 9, 2023




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